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                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                        WACO
                                        WACO DIVISION


PROFECTUS TECHNOLOGY LLC                      §
                                              §     CIVIL NO:
vs.                                           §     WA:20-CV-00101-ADA
                                              §
GOOGLE LLC                                    §

                                MARKMAN
                  ORDER RESETTING MARKMAN
                                        HEARING
                                          HEARING


        IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
MARKMAN HEARING by Zoom on Tuesday, December       12/ 9 20               09:30 AM.
                                                              29, 2020 at 09:30 AM  A link for
the zoom hearing will be sent by e-mail prior to the hearing.

        IT IS SO ORDERED this 12/02 0




                                              Alan D Albright
                                              UNITED STATES DISTRICT JUDGE
